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Uber’s Worst Nightmare
Diana Kapp | Photo: Justin Kaneps | May 18, 2016

Shannon Liss-Riordan just put a $100 million dent in the sharing economy giant. She’s
out for a lot more than that.




The most reviled woman in Silicon Valley was badly in need of some coffee.
It was 8:40 a.m. on the Friday before Super Bowl Sunday, and Shannon Liss-Riordan had just
arrived in the café of the Westin St. Francis, one arm pulling a rolling suitcase, the other
carrying a still-warm laptop. Wearing a black blazer, black pants, and black leather boots, the
attorney stood out among the throngs of jersey-clad football fans overtaking the lobby—an all-
business peregrine falcon among so many colorful squawking parakeets. “Don’t ask,” she
exhaled apologetically, having rolled up 25 minutes late. “You wouldn’t believe how many
motions we’ve filed in the last 48 hours.”
That morning’s stupor, like so many before it, would prove worthwhile. After months of drafting
briefs into the wee hours, cramming for the California bar exam (necessary because she wasn’t
yet licensed to practice law in the state), and continuous, body-clock-wrecking cross-country
flights, Liss-Riordan would soon win the largest settlement of her career: $100 million for
385,000 Uber drivers in California and Massachusetts who’d sued the company for
misclassifying them as freelancers rather than employees. Ultimately, the deal, which was
announced on April 21, came together secretly and hurriedly, in a flurry of meetings over two
weeks in April. While legal pundits are still debating the settlement’s winners and losers (the
New York Times chalked up a victory for Uber; Mother Jones called it for the workers), one thing
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is certain: By preempting the scheduled June 20 trial, Uber avoided having to face off against
Liss-Riordan, who was eager to go for the jugular.


When I met her on Super Bowl Friday, Liss-Riordan was brimming
with confidence that she could convince a San Francisco jury that
Uber’s drivers were not independent contractors, as the company
contended, but in fact employees, highly controlled by
management and due a host of protections conferred by decades
of hard-fought labor battles. Now, two months later, she is almost
rueful about the resolution. “I was so looking forward to this trial,”
she tells me on the Saturday after news of the settlement broke.
For months before its climax, Liss-Riordan’s class action lawsuit
had taken on bellwether status in Silicon Valley. Many onlookers
believed that the ruling would finally resolve the worker-
classification debate looming scythe-like over the head of the new
sharing economy. Some predicted that, should Liss-Riordan prevail, the suit could cripple Uber,
kill other startups in their cradles, and, hell, maybe even end the whole trendy “gig economy”
sector as a whole. That the suit didn’t slay Uber once and for all doesn’t mean that it didn’t inflict
major pain on it. Asked to list the most important reforms assured by the $100 million
settlement, Liss-Riordan touts the deal’s ability to bolster drivers’ job security; to force Uber to
implement a more favorable tipping policy; and to give workers the means to organize as a
group, granting them representation “akin to what unions provide.”
But that’s not everything she was gunning for, I suggest—drivers still won’t be considered
employees under the settlement. “I only settled, and I would only settle,” she responds,
“because I believe what we achieved is a significant achievement in the lives of drivers.” (This
contention was strongly disputed earlier this week by several lawyers pursuing their own class-
action cases against Uber. "She has single-handedly stuck a knife in the back of every Uber
driver in the country,” one of them told Bloomberg.) But more to the point, Liss-Riordan says,
she’s far from finished with Uber and its myriad cousins. The round-one bell may have dinged,
but the attorney intends to continue her crusade on behalf of workers, calling large corporations
to the mat and wringing major concessions and siphoning huge sums from them when
necessary.
Independent contractors, a class of worker that is expected to characterize 40 percent of all
U.S. laborers by 2020, are due no benefits, guarantee of hours, or minimum wage, enabling the
enterprises that employ them to keep labor costs low. But if this galaxy of free agents suddenly
has to be treated like employees, with all the expensive benefits that the status conveys—well,
let’s just say that Silicon Valley offers Liss-Riordan a wealth of opportunity. In fact, when I called
her to talk about the Uber settlement, she told me she had just selected the last of the furniture
for her new Geary Street office. That’s right, the first annex of Liss-Riordan’s Boston-based firm
will soon open in San Francisco. It’ll be located right off of Union Square.
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When I visited her in January in Boston’s Back Bay neighborhood, where her firm, Lichten &
Liss-Riordan, PC, is headquartered, Liss-Riordan stood outside her office and gestured at the
businesses lining the block. Dunkin Donuts, Boston Cab, Lord & Taylor, Starbucks—at one time
or another, she has sued all of them for labor violations. “Yes,” she laughed, “it gets pretty hard
avoiding all my companies.”
Uber came into Liss-Riordan’s sights in 2012 when, during a dinner in San Francisco, a friend
whipped out his phone to show off a cool new app. She saw the cars crawling around his screen
and immediately grokked the model—back in Boston, she was representing cab drivers who
wanted the benefits allotted to employees. Seeing the glint in her eye, her friend blurted, “Don’t
you dare. Do not put them out of business!”
Liss-Riordan sealed a major victory on December 9 of last year, when the class action lawsuit
she had filed on behalf of 8,000 California Uber drivers in 2013 was upgraded by a San
Francisco judge to include basically every single Uber driver in California—more than half of the
company’s current U.S. workforce. Suddenly, the Wall Street Journal was calling her “one of the
most influential and controversial figures in Silicon Valley,” and her lawsuit was threatening the
very existence of the world’s largest privately held company (current valuation: approximately
$68 billion, greater than Ford, Honda, and GM).
The crux of her case was whether the sharing economy habit of using contractors rather than
fully vested employees violates basic labor laws. It was a question that could potentially affect
the fortunes of dozens of would-be and actual unicorns in Silicon Valley, including Google
Express, Postmates, Handy, Caviar, Instacart, GrubHub, DoorDash, Jolt, and Lyft, all of which
Liss-Riordan is in some stage of suing. Indeed, the attorney could throw a stone at any car
driving down Post Street, and chances are that she would hit a vehicle delivering food or
passengers or packages for one of the new-economy businesses that she is after.
True to her nickname, Sledgehammer Shannon—bequeathed to her by the American Airlines
skycaps she represented in a 2008 tip-skimming case—Liss-Riordan, 47, has been smashing
up corporate America through rapid-fire class action lawsuits for a decade and a half (she
currently has some 80 suits in motion). Beyond what’s visible outside her firm’s front door in
Boston, her victims include Federal Express, Harvard University, almost every major U.S.
airline, and the strip joint Centerfolds. Her newest clients are teachers for testing giant Kaplan,
who claim they are being deprived of overtime pay, and stage actors working for studios “owned
by people like Danny DeVito and Tim Robbins.” Broadly, she is out to advance the wage-and-
hour corner of labor law, basically everything related to compensation for hourly-wage
Americans, who, she believes, are faring worse than ever. “I’m not feeling good about the big
picture,” she says. “The labor movement has obviously been in sharp decline, which has
seriously impacted worker welfare. It’s very important to push back against this rollback.”
Over the years, Liss-Riordan’s firm, which typically takes one-third of what it wins and charges
nothing when it loses, has pulled in more than $200 million for its class action clients. And in the
process, Liss-Riordan has achieved a kind of celebrity unseen in the legal world since Ralph
Nader sued General Motors. At a three-day Department of Labor “Future of Work” symposium
last December in Washington, D.C., attendees in the hallways were leaping into Liss-Riordan’s
orbit to take selfies with her. This is not normal for plaintiff’s attorneys in the wage-and-hour
racket. “She hadn’t spoken on a panel,” says the National Employment Law Project’s Cathy
Ruckelshaus, who was at the conference. “She was just recognized.”
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Liss-Riordan’s path to legal stardom began with the renowned feminist labor activist and
congresswoman Bella Abzug, who hired her soon after she graduated from Harvard. She had
no special connections to Abzug, or to anyone else, but simply copied the number of every New
York–based women’s organization out of the phone book and started dialing. “I loved [Abzug’s]
big ideas, and her big hats,” she reminisces. The office photographs of Abzug marching in union
protests moved Liss-Riordan. “It was inspiring to see her have an idea and make it happen,” she
says. “That’s what made me desire law school, so I could do something bigger.”
Her progressive leanings, though, had been baked in long before that. The progeny of socialists
(her maternal great-grandfather organized unions with Samuel Gompers), Shannon Liss grew
up in Meyerland, Texas, the daughter of a Reagan Democrat dad and a liberal mother. At age
five she professed that when she married, she would hyphenate her last name “because it was
the only way that made any sense.” (Her husband and three children all use Liss-Riordan.) She
excelled in math and science, starting a math club in high school that wound up being voted
“most organized in the country.” (“I never knew there was such a contest,” she says. “I was just
doing my thing.”)
In 1992, she left Abzug to stage a conference featuring Anita Hill, fresh from the carnival of the
Clarence Thomas harassment hearings. Through this work, she met Gloria Steinem, who
introduced her to Rebecca Walker, a Yale student whose treatise on modern-day feminism,
“Becoming the Third Wave,” had just appeared in Ms. magazine. Over burritos in the Village,
the pair hashed out how to turn Walker’s ideas into action. First up was Freedom Summer 1992,
a cross-country bus tour to register women voters. Hillary Clinton blew them off after committing
to meet the bus in Little Rock, which partly explains why Liss-Riordan is now feeling the Bern.
Ultimately, though, she yearned to fix the system from within, while Walker wanted to stay
outside of it. Laws needed to be changed. People needed to be held accountable. So in 1993,
Liss-Riordan headed to Harvard Law School to work on just that.
She opened Lichten & Liss-Riordan, PC, in 2009, breaking off, along with one of her mentors,
Harold Lichten, from an established labor-law firm. “I work for her now,” laughs Lichten, a messy
professor type who, at 18, quit the University of Pennsylvania basketball team rather than get
the required crew cut. Clearly, the two bond over heeding their first principles. Liss-Riordan
bought a Cambridge pizza joint in 2012 after she won a back-pay lawsuit for the employees,
which helped push the restaurant into bankruptcy. After purchasing it, she made most of the
employees part-owners and renamed the pizzeria the Just Crust.
The day I shadowed her in Boston, Liss-Riordan was a whirl of motion. At one point, while we
were chatting in her office, the reception desk buzzed and she disappeared down an exposed-
brick stairwell hung with vintage photos of workers—seamstresses, a 1930s-era stripper. She
returned with a redheaded woman in jeans, whom she motioned to sit at the conference table.
“I was very interested in what you sent me,” Liss-Riordan said, plopping down beside her. The
woman was a massage therapist at Harvard University’s Center for Wellness. “Were you able to
do any snooping around to see if there were other pockets [of contractors] around campus with
similar setups?” the attorney asked. The woman said not yet. Liss-Riordan followed with a run of
questions: How many hours do you work? Thirty a week. Who sets your schedule?
Management. Who buys your equipment? They do. Do you pay for your own insurance? Yes. If
there was a client you had before that you didn’t like, could you say you’d rather not take them
again? The woman shook her head: No way. Liss-Riordan glanced through the documents the
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woman had slid her. “There is a good argument that you have been misclassified as a
contractor,” she said, then suggested they go after sick and holiday pay, and perhaps benefits
like free Harvard courses.
“Didn’t you go to Harvard?” the woman inquired timidly. “I read that on your website.” Liss-
Riordan responded with a laugh: “I’ve sued Harvard twice before. They gave me two degrees,
so I’m not sure they appreciate it.” (She roomed there with YouTube CEO Susan Wojcicki.) The
woman asked if she would lose her job. “I’m scared,” she said. “No, no way,” Liss-Riordan
retorted. “It’s scary, but you are doing the right thing. Actually, that it’s Harvard protects you.
They know they can’t get away with misbehaving.”
Over the years, Liss-Riordan has sought employee status for truck drivers, call-center workers,
home cleaners, even exotic dancers. “It’s just the next logical extension to take it into these on-
demand jobs, where it’s pretty clear these low-wage workers are not running their own
businesses,” says the National Employment Law Project’s Ruckelshaus, who has worked with
Liss-Riordan on several cases. A lawyer defending one of Liss-Riordan’s suits spins her MO in
another way: “She’s found this tiny niche, and now she’s just exploiting the hell out of it.”
Indeed, her power-to-the-worker rhetoric flies in the face of many of Silicon Valley’s prized
principles and has earned her some well-funded enemies. The very labor laws she defends,
says veteran VC Len Baker of Sutter Hill Ventures, are “encrusted with so much crap they just
really bog us down.” Sam Altman, who heads the prolific startup hatchery Y Combinator,
believes that “individual flexibility and freedom” should trump current laws that tie employees to
employer. “I definitely think it’s bad to make everyone de facto full-time employees,” he says.
The whole point of the on-demand economy, maintains Eric Goldman, director of the High Tech
Law Institute at the Santa Clara University School of Law, “is to allow more granular ways of
people providing their services.” This new, frictionless, seamless way of parsing tasks and
connecting available labor to paying work, says Baker, is “just much more efficient
economically.”
To all this, Liss-Riordan simply responds: Bogus. She finds the cult of contract labor “really kind
of scary, a great loophole” that’s allowing corporations to screw the little guys. In her view,
companies like Uber blatantly skirt minimum-wage and overtime-pay rules, which have been in
place since the New Deal. By classifying drivers as contractors, Uber can fire them at will, have
them run down their own cars and tires while avoiding having to reimburse them the IRS-
mandated 57.5 cents (now 54) per mile for wear and tear, and sidestep mandates for workers’
compensation and health insurance. The legal framework behind this “might be one of the
sharpest attacks on workers we’ve seen in a long time,” Liss-Riordan says. “The rhetoric is, ‘But
oh, this is good for the worker—be this on-demand worker, and you’ll have this freedom.’ But
they are not their own bosses. Technology has created more extreme ways that employers can
take advantage of workers. They are tethered to their phone. There are constant ratings, surge
incentives, and data tracking their behavior at times, with more pull than a human manager
would have.”
Silicon Valley, naturally, would like to come up with another way to get around this existential
divide. “The best thing would be a new categorization” for gig-economy workers, says Altman,
“because these people really lie somewhere between traditional notions of contractor and
employee.” But Liss-Riordan has a standard retort for this third-category concept: “Why is there
this call for dismantling these protections that have been fought for over decades in order to
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help a $50 billion company get richer, while the drivers are making less and less and paying
Uber’s business expenses?” To her, the notion that flexibility is incompatible with full-time
employment is a cop-out. “Plenty of companies let workers set their own schedules,” she says.
“If it costs Uber more to make everyone employees, they should just take a bigger cut and at
least be transparent about all this.”
Back in December, in U.S. District Court Judge Edward M. Chen’s domain high above the city,
Liss-Riordan strenuously objected to Uber’s move of emailing every driver a new contract,
which had to be signed for drivers to continue working. Buried within the fine print was a clause
that rendered signers ineligible to join any future class action lawsuits, instead mandating
arbitration to resolve grievances. Liss-Riordan finds it infuriating, if somewhat vindicating, that
companies have turned to such clauses as a way of dodging responsibility. “They didn’t even
deign to talk to class counsel before sending out a communication to my clients,” she said to the
judge. “I would urge the court to consider the arguments that Uber should not be able to curtail
liability. Not on the 14th page of an email on an iPhone.” Judge Chen ruled in her favor,
overriding Uber’s arbitration agreement and allowing drivers to file suit as a class.
Arbitration clauses like the one Judge Chen struck down are increasingly being used by
companies as a legal end-around. The Supreme Court has strengthened the power of these
clauses in recent years, on the grounds that individual mediations are a more efficient means of
resolving disputes. But to Liss-Riordan, the shift serves only to protect big business: “I just think
it’s reprehensible that the Supreme Court has allowed all these companies that are blatantly
breaking the law to protect themselves."
It was Uber’s arbitration clause that ultimately sent Liss-Riordan’s suit careening to a settlement.
When the U.S. Court of Appeals for the Ninth Circuit, on April 5, agreed to hear Uber’s appeal,
“it was not a good sign at all,” she says. If Judge Chen’s decision to override the arbitration
agreement was reversed by the Ninth Circuit, her clients could be left high and dry. “Uber made
it known they would appeal this all the way to the Supreme Court if they could,” she says. And
given the deadlocked state of the court at the moment, the odds of a 4–4 decision leaving the
lower court’s ruling in place seemed too risky. “There’s just a lot of uncertainty,” she says.
During our meeting at the Westin, I asked Liss-Riordan if she viewed her lawsuits as primarily
having a policing function on bad-acting companies like Uber, or if she believed that she had a
shot at challenging the constitutionality of arbitration clauses. She was circumspect. “There are
so many ways that companies can evade the laws,” she said. “If you chase them in litigation,
they can just keep changing the arbitration clause a little bit. For them, they are like this magic
bullet.”
Using lawsuits, Liss-Riordan is trying to combat these corporate shenanigans by bringing old-
fashioned collective bargaining to the new economy. And increasingly, other jurisdictions are
taking a similar approach. Seattle just passed a law allowing Uber drivers to organize, and new
legislation aimed at enabling gig workers to bargain collectively was recently introduced before
the California legislature. (The bill was pulled before a final vote.) The Teamsters are now
reportedly attempting to create an independent drivers’ “association” akin to a union. “Lawsuits
like hers are already having an impact,” says Arun Sundararajan, professor at the New York
University Stern School of Business and the author of The Sharing Economy: The End of
Employment and the Rise of Crowd-Based Capitalism. The fundamental benefit of these
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lawsuits, he says, is in “getting us on a path toward a better solution to funding our social safety
net."
Liss-Riordan is never one to relent unless forced. Says her partner Lichten, admiringly, “She’s
like a pit bull with a Chihuahua in her mouth.” Among the concessions Uber had to make to
reach the April settlement was forgoing its practice of firing drivers without cause. “That’s a
pretty big deal,” says Santa Clara University law professor Goldman. What’s more, drivers will
no longer be deactivated for a low rate of pickups, will receive a warning before losing their job,
and can contest a termination before a panel of their peers. An even bigger deal, Liss-Riordan
says, was convincing the judges in both her Uber and Lyft cases to deny summary judgment.
What this means is that companies will not be able to do away with lawsuits of this nature
quickly and painlessly. “They were saying that any company that finds itself with a lawsuit for
misclassification can find itself in front of a jury. And that’s big,” she says. “It’s a big price to put
an end to the case, and it will continue to give companies pause before they play fast and loose
with these rules.”
There is evidence of this already. On-demand players such as Instacart, Shyp, Zirtual, and
Honor have recently shifted course, reclassifying some of their workers as employees.
“Everyone who wants to be Uber of the next thing—they’ve been watching these battles,” Liss-
Riordan says. And, she is quick to point out, Uber may be paying $100 million to make this suit
go away, but it hasn’t gotten the employment-classification monkey off its back. “No court has
decided here whether these drivers are employees or independent contractors,” she says. At
multiple times during our phone conversation in April, Liss-Riordan returned to her favorite point:
“This was a settlement. Nothing has been decided.”
Before hanging up, I pushed her on my last question: What is your next chess move against
Uber? Is this fight over? She hemmed and hawed over what to reveal publicly, before finally
relenting. “Oh, OK,” she said, grinning audibly on the other end of the line. “You can say I’m not
done with this company.”


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